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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                        Case Number:

  LUISA LONDONO,

          Plaintiff,

  v.

  AUTONATION INC., d/b/a

  Mercedes Benz of Fort Lauderdale; and

  GIFF HUMMELL, individually.

          Defendants.

                       COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff,   LUISA    LONDONO,       files   this   Complaint   against   Defendants,

  AUTONATION INC. d/b/a Mercedes Benz of Fort Lauderdale and GIFF HUMMELL, for

  violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e, et seq., as amended,

  the Florida Civil Rights Act, Fla. Stat. § 760.10, et. seq. and for retaliation under the

  Family Medical Leave Act. In support of these claims she alleges the following:

                                        INTRODUCTION

       1. This is an action that involves claims of discrimination on the basis of sex and

          retaliation in violation of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §2000e,

          et seq., as amended (“Title VII”) and the Florida Civil Rights Act of 1992, Fla. Stat.

          § 760.10, et. seq. against Defendant, Autonation Inc. (“Autonation”), and is

          brought by Plaintiff, Luisa Londono (“Plaintiff” or “Ms. Londono”), as a former

          employee of Defendant.
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     2. This is also an action for retaliation in violation of the Family Medical Leave Act

        against both Defendants.

                                          PARTIES

     3. Ms. Londono, was, at all relevant times to this action, a resident of Miami, Florida.

     4. At all times relevant to this action, Autonation employed Ms. Londono as a

        Director. She was an employee within the meaning of Title VII and the Florida

        Civil Rights Act of 1992.

     5. At all times relevant to this action, Plaintiff was considered an eligible employee

        under the FMLA meaning that she was employed for at least 12 months by

        Defendants and worked over 1250 hours in the previous 12 months.

     6. During the relevant time period of this complaint, Plaintiff was pregnant and

        entitled to FMLA leave to care for the birth of her child.

     7. Autonation is a foreign profit corporation organized in the State of Delaware.

        Though a national company, the local branch where Plaintiff was employed is

        located at Fort Lauderdale.

     8. Giff Hummell was/is the General Manager of the corporate Defendant’s Fort

        Lauderdale location beginning in early 2016.          Mr. Hummell was Plaintiff’s

        supervisor during the relevant time period of this complaint. Mr. Hummell makes

        all personnel decisions within the store and is directly responsible for the

        supervison, discipline, hiring and firing of the staff of the store. Plaintiff does not

        have these responsibilities as they all go through Defendant Hummell.

     9. Mr. Hummell is considered an employer of Plaintiff under the FMLA.                 Mr.

        Hummell is a person who acted both directly and indirectly in the interest of the

        the corporate Defendant as it concerns Plaintiff. He was her supervisor.
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     10. During all times relevant to this Complaint, the Defendants employed more than

        fifteen employees.

     11. During all times relevant to this complaint, Defendants employed more than 50

        employees within a 75 mile radius of Plaintiff’s worksite.

     12. During all times relevant to this complaint, Defendants engaged in commerce

        and/or as an industry affecting commerce.

     13. Plaintiff and the corporate Defendant are subject to Title VII.

     14. Plaintiff and the corporate Defendant are subject to the Florida Civil Rights Act.

     15. Plaintiff and both Defendants are subject to the FMLA.

                               JURISDICTION AND VENUE

     16. This Court has subject matter jurisdiction over this matter under its federal

        question jurisdiction because it arises from federal law, specifically, Title VII. This

        Court has supplemental jurisdiction over the Florida state law claims pursuant to

        28 U.S.C. § 1367 because these state law claims are significantly related to the

        claims arising from Federal law, as they arise from the same set of operative facts.

        Further, these state law claims do not raise complex or novel questions of state law

        and do not predominate over the Federal claims.

     17. This Court has personal jurisdiction over Defendants because they deliberately

        reach into the State of Florida to complete their business, evidenced by their

        numerous offices, employees, and contracts in the State.

     18. Venue is properly laid in this Court pursuant to 28 U.S.C. § 1391 because the acts

        complained of occurred in this district, specifically, Miami-Dade County.

     19. On or around April 2017, Plaintiff submitted a charge of discrimination against the

        corporate Defendant, alleging that the corporate Defendant discriminated against
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        her on the basis of her sex, with the Equal Employment Opportunity Commission

        (“EEOC”). The EEOC sent Ms. Londono a “Right to Sue” letter based upon this

        charge on March 13, 2018.

     20. Fewer than ninety (90) days have passed since Plaintiff received this Right to Sue

        Letter. All conditions subsequent to filing suit have been satisfied.

   GENERAL ALLEGATIONS REGARDING PLAINTIFF’S DISCRIMINATION CLAIMS

     21. The corporate Defendant employed Plaintiff from December 2012 until May 2017.

        Throughout her employment, Plaintiff had an excellent work record.

     22. Plaintiff was promoted to Director of corporate Defendant’s Pompano location in

        September 2015. Plaintiff succeeded at the position and eventually interviewed for

        the same but bigger position in the Fort Lauderdale location. The interview was

        held with Defendant Hummell. Plaintiff was hired for the position in April 2016.

        She was to be in charge of 4 established managers.

     23. As a Director, Plaintiff is supposed to make sure processes are followed to get to a

        final price and offered financing options. However, gradually these duties were

        usurped from her by Defendant Hummell, approving deals without her knowledge

        or input. Plaintiff does not supervise other employees and is not capable of

        disciplining or managing them in anyway. These responsibilities fall to the General

        Manager, Defendant Hummell.

     24. Within a few months of the new position, 3 out of the 4 of these established

        managers were replaced by new, inexperienced managers. These managers will
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            still under their probationary orientation period1 or just beyond it during the

            relevant time period. Additionally, there was heavy turnover with associates.

        25. Despite the heavy changes, Plaintiff performed well over her first several months,

            earning praise from employees and Defendant Hummell. From April until late

            August 2016, Defendant Hummell included Plaintiff in meetings, asked for her

            opinion on matters, and showed support in front of the rest of the staff.

        26. In September of 2016, Plaintiff told Defendant Hummell that she was pregnant,

            with an official announcement to the company a few days later.

        27. Almost immediately thereafter, Defendant Hummell’s demeanor towards Plaintiff

            changed. She was not included in many meetings, her opinion was no longer

            requested, and she was contradicted publicly in front of the staff. Her requests for

            meetings with the staff were denied by Defendant Hummell.

        28. In October, Plaintiff was given a coaching assessment plan for the first time in a

            meeting with Defendant and several other members of HR and management. Part

            of the assessment was a performance plan. Plaintiff immediately stated that the

            performance plan was unrealistic and purposely designed to set her up to fail. The

            numbers matched the height of the previous Director’s sales with the benefit of a

            veteran team with more resources and experience. It had taken approximately 18

            months for the previous director to reach these heights. She stated that her brand

            new team without the benefit of experience or any familiarity with the system

            would never be able to do those numbers. She also stated that the previous

            Director had the benefit of the support from his general manager, which she no



  1   This period is the first 3 months of employment
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        longer had with Defendant Hummell since she became pregnant. She offered a

        counter of slightly lesser numbers with optimism she could get that much from her

        team. These revised numbers would still be the highest in the market. The meeting

        room agreed to the revised performance numbers.

     29. Following the meeting, Plaintiff was told by members of the staff that Defendant

        Hummell did not like the idea of her being pregnant and that he was trying to get

        rid of her because she was going on maternity leave. Another manager told

        Plaintiff that the plan was to eventually demote her.

     30. A few days following the meeting, an “addendum” (in the form of a write-up) to the

        performance plan was issued adding to her new performance goals.

     31. On November 8, 2016 Plaintiff was given another assessment for similar reasons

        to the original assessment. In this meeting, Plaintiff complained of the obstacles

        in her way of completing the performance plan. As a director, she had no authority

        over the sales managers and other staff. Their shortcomings, inconsistencies,

        behavior, and performance were not being regulated by the person who was their

        supervisor, General Manager Gif Hummell. She was told she had 15 days to fix

        everything.   She responded by asking what would happen if she did show

        improvement but missed a single bullet point, adding that Defendant Hummell

        still wanted to fire her due to her pregnancy. She was told that they would explore

        other options like demotion. Plaintiff was flabbergasted at the admission of

        Defendant’s intention to take her out of the Director position seemingly no matter

        what. She was then told to just fix one thing at a time.

     32. In both meetings, Plaintiff complained that she was being left out of the sales

        approval process and that Defendant Hummell was approving deals without her
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        input and/or knowledge of the transaction.        This was directly affecting her

        performance and would be an impregnable barrier to her completing her

        performance plan.

     33. After the meeting, Plaintiff spoke with Joe Brahler, the Customer Financial

        Services Development Manager, who was in both performance meetings, and told

        him that she was being set up to fail and retaliated against because she was

        pregnant. She also further explained that it was Defendant Hummell’s lack of

        process and procedure that was leading her to not achieve sales goals. Brahler

        assured Plaintiff that she had nothing to worry about as long as she showed

        improvement and to take it one thing at a time.

     34. Following the meeting, Plaintiff insisted on a staff meeting so that she could

        address her needs with the staff in order to achieve the performance plan. The

        meeting was granted. However all requests for follow up meetings needed to

        ensure compliance with her directives were denied by Defendant Hummell.

     35. Joe Brahler seemingly listened to the complaints of Plaintiff and spent a week at

        the store. He witnessed the breakdown of process and procedure by Defendant

        Hummell. He witnessed Defendant Hummell segregate Plaintiff from deals and

        sales with the sales team that are supposed to go through the Director. To alleviate

        these issues, Brahler instructed the store to use a new Sales Checklist he had

        created. Defendant Hummell refused to enact the Sales Checklist despite it coming

        from Mr. Brahler.

     36. At this point, Defendant Hummell ceased all interaction with Plaintiff.         He

        continued to allow deals to be made that ignored profitability and were solely

        focused on volume. These transactions were seen as suspicious and were done
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        despite Plaintiff regularly advising against making any transactions that would put

        the store at risk. This directly reflected on Plaintiff’s performance despite her

        having nothing to do with the transactions.

     37. At this point, in order to do her best to achieve the unachievable performance plan,

        Plaintiff was working 10-11 hour days.

     38. On November 22, 2016, an employee of Defendant disagreeing with Plaintiff's

        instruction loudly yelled "fuck you" and “do your fucking job” to Plaintiff in front

        of other coworkers. Attempting to make the best of the situation, Plaintiff

        addressed the employee privately despite the chaos of the scene. Defendant

        Hummell wrote up Plaintiff for addressing the employee in this manner while he

        refused to give any harsh discipline to the employee despite the clear

        insubordination that is normally not tolerated. Defendant Hummell then sent

        Plaintiff home for the day to only return when contacted upon resolving the issue.

     39. On November 23, 2016 Plaintiff had a doctor’s appointment. She was advised that

        due to increased stress she needed to rest. Her doctor advised her to only work 40

        hour weeks.

     40. She presented her doctor’s instructions to Defendant Hummell.            Defendant

        Hummell told her that she did not need to worry about the office so much and that

        she had to do what was best for her health and that of her child. Defendant

        Hummell demoted her a few days later.

     41. Defendant Hummell asked Plaintiff to meet him at Defendant’s location in

        Weston. Plaintiff believed she had exceeded her performance numbers and was

        not worried considering her most recent conversation with Defendant Hummell.

        Instead, she was greeted by Defendant Hummell and an HR representative with a
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        write-up. Defendant Hummell claimed that Plaintiff had made her improvements,

        but one of her performance numbers came in below the required number.

        Apparently sales had been above the number, but chargebacks caused the number

        to go below. Additionally, she was at her other valuations. All of her numbers were

        required to be far above that of the other dealerships in the market. So, though she

        was performing better than all of her competition despite the internal handicaps,

        her performance plan still caused her to fail.

     42. On December 6, 2016 Plaintiff was demoted from Finance Director to Finance

        Manager and given options to go to Chevrolet of Calle Ocho, Chevrolet of

        Pembroke Pines, or to resign. This was despite there being other openings in

        Mercedes branded stores. There were also finance manager positions available in

        the Fort Lauderdale store. However, it was clear that Defendant Hummell wanted

        her out of his store. This resulted in a severe loss in pay. Plaintiff chose the Calle

        Ocho location. Upon the relocation, Plaintiff gave her 40 hour medical note to her

        direct supervisor. The direct supervisor told Plaintiff that she was to give her a

        regular schedule (more than 40 hours) despite the note and that the order came

        from higher up.

     43. Plaintiff went on FMLA leave on January 14, 2017. The last few weeks were spent

        doing increased work of more than 40 hours per week, despite the doctor’s note.

     44. Plaintiff resigned her employment in May of 2017 before returning from leave.

        Plaintiff was constructively terminated as she had no future in the company due to

        the retaliatory actions of Defendant Hummell.

     45. Plaintiff filed her case with the Equal Employment Opportunity Commission in

        April 2017.
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                                          COUNT 1
      SEX/PREGNANCY DISCRIMINATION IN VIOLATION OF TITLE VII
                          AGAINST DEFENDANT AUTONATION
     46. Plaintiff re-alleges the paragraphs 1-45 as if fully set forth in this Count.

     47. At all relevant times Defendant was an employer who employed more than 15

        employees as required by 42 U.S.C. § 2000e(b).

     48. At all relevant times Defendant employed Plaintiff within the meaning of 42 U.S.C.

        § 2000e(f).

     49. Defendant acted in the above mentioned manners with the intent to discriminate

        against Plaintiff on the basis of her sex and due to her pregnancy.

     50. Defendant wrote up Plaintiff several times and implemented an unreasonably

        difficult performance plan designed for Plaintiff to fail. This plan ultimately

        resulted in Plaintiff’s demotion.

     51. Plaintiff’s sex and her pregnancy were the legal causes for Defendant’s decision to

        discipline Plaintiff, resulting in the performance plan that ultimately led to her

        demotion.

     52. Defendant knowingly and intentionally discriminated against Plaintiff on the basis

        of her sex in violation of Title VII.

     53. This violation of Title VII provides to Plaintiff back pay, front pay, attorneys’ fees

        and costs, or any other equitable relief deemed just pursuant to 42 U.S.C. §2000e-

        5 and compensatory and/or punitive damages pursuant to 42 U.S.C. § 1981(a).

                                          COUNT 2
                          SEX/PREGNANCY DISCRIMINATION
               IN VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT
                          AGAINST DEFENDANT AUTONATION
     54. Plaintiff re-alleges paragraphs 1-45 as if fully set forth in this Count.
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     55. At all relevant times Defendant was an employer who employed more than 15

        employees as required by Fla. Stat. § 760.02.

     56. At all relevant times Defendant employed Plaintiff within the meaning of the

        Florida Civil Rights Act of 1992, Fla. Stat. § 760.01 et. seq.

     57. Defendant acted in the above mentioned manners with the intent to discriminate

        against Plaintiff on the basis of her sex and due to her pregnancy.

     58. Defendant wrote up Plaintiff several times and implemented an unreasonably

        difficult performance plan designed for Plaintiff to fail. This plan ultimately

        resulted in Plaintiff’s demotion.

     59. Plaintiff’s sex and her pregnancy were the legal causes for Defendant’s decision to

        discipline Plaintiff, resulting in the performance plan that ultimately led to her

        demotion.

     60. Defendant knowingly and intentionally discriminated against Plaintiff on the basis

        of her sex in violation of Fla. Stat. § 760.01 et. seq.

     61. This violation of the Florida Civil Rights Act of 1992 provides to Plaintiff back pay,

        front pay, attorneys’ fees and costs, or any other equitable relief deemed just

        pursuant to Fla. Stat. § 760.11.

                                          COUNT 3
         SEX/PREGNANCY RETALIATION IN VIOLATION OF TITLE VII
                          AGAINST DEFENDANT AUTONATION
     62. Plaintiff re-alleges the paragraphs 1-45 as if fully set forth in this Count.

     63. At all relevant times Defendant was an employer who employed more than 15

        employees as required by 42 U.S.C. § 2000e(b).

     64. At all relevant times Defendant employed Plaintiff within the meaning of 42 U.S.C.

        § 2000e(f).
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     65. Defendant acted in the above mentioned manners with intent to retaliate against

        Plaintiff on the basis of her complaints of discrimination based on her sex and due

        to her pregnancy.

     66. Plaintiff made several complaints about Defendant discriminating against her

        based on her pregnancy. These complaints led to more assessment plans and

        ultimately her demotion.

     67. Plaintiff’s complaints about pregnancy discrimination were the legal causes for

        Defendant’s retaliatory decision to further discipline Plaintiff, ultimately leading

        to her demotion.

     68. Defendant knowingly and intentionally retaliated against Plaintiff on the basis of

        her complaints of pregnancy discrimination in violation of Title VII.

     69. This violation of Title VII provides to Plaintiff back pay, front pay, attorneys’ fees

        and costs, or any other equitable relief deemed just pursuant to 42 U.S.C. §2000e-

        5 and compensatory and/or punitive damages pursuant to 42 U.S.C. § 1981(a).

                                          COUNT 4
                            SEX/PREGNANCY RETALIATION
               IN VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT
                          AGAINST DEFENDANT AUTONATION
     70. Plaintiff re-alleges paragraphs 1-45 as if fully set forth in this Count.

     71. At all relevant times Defendant was an employer who employed more than 15

        employees as required by Fla. Stat. § 760.02.

     72. At all relevant times Defendant employed Plaintiff within the meaning of the

        Florida Civil Rights Act of 1992, Fla. Stat. § 760.01 et. seq.
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     73. Defendant acted in the above mentioned manners with intent to retaliate against

        Plaintiff on the basis of her complaints of discrimination based on her sex and due

        to her pregnancy.

     74. Plaintiff made several complaints about Defendant discriminating against her

        based on her pregnancy. These complaints led to more assessment plans and

        ultimately her demotion.

     75. Plaintiff’s complaints about pregnancy discrimination were the legal causes for

        Defendant’s retaliatory decision to further discipline Plaintiff, ultimately leading

        to her demotion.

     76. Defendant knowingly and intentionally retaliated against Plaintiff on the basis of

        her complaints of pregnancy discrimination in violation of Fla. Stat. § 760.01 et.

        seq.

     77. This violation of the Florida Civil Rights Act of 1992 provides to Plaintiff back pay,

        reinstatement, attorneys’ fees and costs, or any other equitable relief deemed just

        pursuant to Fla. Stat. § 760.11.

                                          COUNT 5
               SEX/PREGNANCY DISCRIMINATION/RETALIATION
    IN VIOLATION OF TITLE VII CAUSING CONSTRUCTIVE TERMINATION
                          AGAINST DEFENDANT AUTONATION
     78. Plaintiff re-alleges the paragraphs 1-45 as if fully set forth in this Count.

     79. At all relevant times Defendant was an employer who employed more than 15

        employees as required by 42 U.S.C. § 2000e(b).

     80.At all relevant times Defendant employed Plaintiff within the meaning of 42 U.S.C.

        § 2000e(f).
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     81. Defendant acted in the above mentioned manners with the intent to discriminate

        and retaliate against Plaintiff on the basis of her sex and due to her pregnancy.

     82. Defendant wrote up Plaintiff several times and implemented an unreasonably

        difficult performance plan designed for Plaintiff to fail. This plan ultimately

        resulted in Plaintiff’s demotion.

     83. Plaintiff made several complaints regarding the pregnancy discrimination that was

        occurring. These complaints only lead to more assessment plans, more elements

        to her performance plan, and more stress.

     84. Plaintiff was forced to end her employment with Defendant due to their

        institutional promotion of pregnancy discrimination. Instead of investigating

        and/or addressing Plaintiff’s claims of discrimination and retaliation, Defendant

        continued to allow an abusive and hostile environment to flourish; leading to the

        rewarding of her abuser, Defendant Hummell.

     85. A reasonable person in this environment would be forced to resign under these

        conditions due to the lack of institutional action to prevent further abuse.

     86. Defendant’s inaction to prevent further discrimination and retaliation, combined

        with Defendant’s rewarding of her abuser were the legal causes for Plaintiff’s

        inability to continue working for Defendant. This is constructive termination.

     87. Defendant knowingly and intentionally discriminated and retaliated against

        Plaintiff on the basis of her sex/pregnancy in violation of Title VII.

     88.This violation of Title VII provides to Plaintiff back pay, front pay, attorneys’ fees

        and costs, or any other equitable relief deemed just pursuant to 42 U.S.C. §2000e-

        5 and compensatory and/or punitive damages pursuant to 42 U.S.C. § 1981(a).

                                            COUNT 6
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               SEX/PREGNANCY DISCRIMINATION/RETALIATION
               IN VIOLATION OF THE FLORIDA CIVIL RIGHTS ACT
                       CAUSING CONSTRUCTIVE TERMINATION
                          AGAINST DEFENDANT AUTONATION
     89. Plaintiff re-alleges paragraphs 1-45 as if fully set forth in this Count.

     90. At all relevant times Defendant was an employer who employed more than 15

        employees as required by Fla. Stat. § 760.02.

     91. At all relevant times Defendant employed Plaintiff within the meaning of the

        Florida Civil Rights Act of 1992, Fla. Stat. § 760.01 et. seq.

     92. Defendant acted in the above mentioned manners with the intent to discriminate

        and retaliate against Plaintiff on the basis of her sex and due to her pregnancy.

     93. Defendant wrote up Plaintiff several times and implemented an unreasonably

        difficult performance plan designed for Plaintiff to fail. This plan ultimately

        resulted in Plaintiff’s demotion.

     94. Plaintiff made several complaints regarding the pregnancy discrimination that was

        occurring. These complaints only lead to more assessment plans, more elements

        to her performance plan, and more stress.

     95. Plaintiff was forced to end her employment with Defendant due to their

        institutional promotion of pregnancy discrimination. Instead of investigating

        and/or addressing Plaintiff’s claims of discrimination and retaliation, Defendant

        continued to allow an abusive and hostile environment to flourish; leading to the

        rewarding of her abuser, Defendant Hummell.

     96. A reasonable person in this environment would be forced to resign under these

        conditions due to the lack of institutional action to prevent further abuse.
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     97. Defendant’s inaction to prevent further discrimination and retaliation, combined

        with Defendant’s rewarding of her abuser were the legal causes for Plaintiff’s

        inability to continue working for Defendant. This is constructive termination.

     98. Defendant knowingly and intentionally discriminated and retaliated against

        Plaintiff on the basis of her sex/pregnancy in violation of Fla. Stat. § 760.01 et. seq.

     99. This violation of the Florida Civil Rights Act of 1992 provides to Plaintiff back pay,

        front pay, attorneys’ fees and costs, or any other equitable relief deemed just

        pursuant to Fla. Stat. § 760.11.

                             COUNT 7 FMLA RETALIATION
                        AGAINST DEFENDANT AUTONATION
     100.      Plaintiff re-alleges paragraphs 1-45 as if fully set forth in this Count.

     101.      At all relevant times Defendant was an employer who employed more than

        50 employees within a 75 mile radius of Plaintiff’s workplace as required by 29

        U.S.C. §2611(2)(B)(ii).

     102.      At all relevant times Defendant employed Plaintiff within the meaning of

        the FMLA §2611 et seq.

     103.      Plaintiff was entitled to leave under the FMLA as she was expecting the birth

        of her child. Plaintiff gave due and proper notice of her impending need for FMLA

        leave. Shortly after notice was given, Defendant disciplined Plaintiff by giving her

        several   assessment      plans    and   implementing    an   unreasonably     difficult

        performance plan. This ultimately led to her demotion.

     104.      Under 29 U.S.C. §2615(a), it is unlawful for an employer to (1) “interfere

        with, restrain, or deny the exercise of or the attempt to exercise, any right provided

        under” the FMLA and (2) “to discharge or in any other manner discriminate

        against any individual for opposing any practice made unlawful by” the FMLA.
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     105.        Plaintiff’s request for FMLA leave was the legal cause for Defendant’s

        decision to demote Plaintiff.

     106.        Defendant knowingly and intentionally discriminated against Plaintiff on

        the basis of her request for FMLA leave in violation of 29 U.S.C. §2615 et. seq.

     107.        This violation of the FMLA provides to Plaintiff lost wages, interest,

        liquidated damages, attorneys’ fees and costs, and/or any other equitable relief

        deemed appropriate, including employment, reinstatement, and promotion

        pursuant to 29 U.S.C. §2617.

                               COUNT 8 FMLA RETALIATION
                        AGAINST DEFENDANT GIFF HUMMELL
     108.        Plaintiff re-alleges paragraphs 1-45 and 101-107 as if fully set forth in this

        Count.

     109.        At all relevant times Defendant was an employer who employed more than

        50 employees within a 75 mile radius of Plaintiff’s workplace as required by 29

        U.S.C. §2611(2)(B)(ii).

     110.        At all relevant times Defendant employed Plaintiff within the meaning of

        the FMLA §2611 et seq.

     111.        Plaintiff was entitled to leave under the FMLA as she was expecting the birth

        of her child. Plaintiff gave due and proper notice of her impending need for FMLA

        leave. Shortly after notice was given, Defendant was responsible for disciplining

        Plaintiff by giving her several assessment plans and implementing an

        unreasonably difficult performance plan. This ultimately led to her demotion.

     112.        Under 29 U.S.C. §2615(a), it is unlawful for an employer to (1) “interfere

        with, restrain, or deny the exercise of or the attempt to exercise, any right provided
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         under” the FMLA and (2) “to discharge or in any other manner discriminate

         against any individual for opposing any practice made unlawful by” the FMLA.

     113.       Plaintiff’s request for FMLA leave was the legal cause for Defendant’s

         decision to demote Plaintiff.

     114.       Defendant knowingly and intentionally discriminated against Plaintiff on

         the basis of her request for FMLA leave in violation of 29 U.S.C. §2615 et. seq.

     115.       This violation of the FMLA provides to Plaintiff lost wages, interest,

         liquidated damages, attorneys’ fees and costs, and/or any other equitable relief

         deemed appropriate, including employment, reinstatement, and promotion

         pursuant to 29 U.S.C. §2617.

                                    PRAYER FOR RELIEF

  WHEREFORE, Plaintiff prays for the following relief as to Counts 1-6:

     •   the Court find that Defendant violated Title VII and the Florida Civil Rights Act of

         1992, intentionally, and in bad faith;

     •   the Court award Plaintiff back pay, front pay, attorneys’ fees and costs, and any

         other equitable relief deemed just pursuant to 42 U.S.C. § 2000e-5 and

         compensatory and/or punitive damages pursuant to 42 U.S.C. § 1981(a);

     •   the Court award Plaintiff back pay, front pay, compensatory damages, punitive

         damages, attorneys’ fees and costs, or any other equitable relief deemed just

         pursuant to Fla. Stat. § 760.11.

  WHEREFORE, Plaintiff prays the following relief as to Count 7 and 8:

     •   the Court find that Defendants violated §2615 of the FMLA intentionally and in

         bad faith;
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     •   the Court award Plaintiff lost wages, interest, liquidated damages, attorneys’ fees

         and costs, and/or any other equitable relief deemed appropriate, including

         employment, reinstatement, and promotion pursuant to 29 U.S.C. §2617.

                                DEMAND FOR JURY TRIAL

         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands

  a trial by jury on all questions of fact raised by this Complaint and on all other issues so

  triable.

  Dated: April 24, 2018.

                                                   Respectfully submitted,

                                                   By:__/s/ R. Edward Rosenberg
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